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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                      November 17, 2016
                        IN THE UNITED STATES DISTRICT COURT
                                                                                       David J. Bradley, Clerk

                        FOR THE SOUTHERN DISTRICT OF TEXAS

                                    GALVESTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
VS.                                               §   CRIMINAL NO. G-16-CR-15 (7)
                                                  §
RAFAEL ORTUNO CARRENO                             §

                        ORDER OF DETENTION PENDING TRIAL

       On November 16, 2016, this Court convened a Detention Hearing in regard to the

Defendant, Rafael Ortuno Carreno. Having considered the report of the Pretrial Services Officer

recommending detention and the fact that Carreno is presently in the constructive custody of U.S.

Immigration and Customs Enforcement subject to a final Order of Removal, the Court makes the

following findings of fact and conclusions of law.

       Since Carreno presently has no legitimate claim to a liberty interest that would justify an

immediate or meaningful detention determination under 18 U.S.C. § 3142(f), it is the ORDER

of this Court that good cause exists to postpone the need for such a determination until such time,

if any, as Carreno can maintain a legitimate liberty interest before this Court. See United States

v. King, 818 F.2d 112, 114 (1st Cir. 1987). Accordingly, the Court finds that there is no need

to make a detention determination at this time.

       It is, therefore, ORDERED that the Defendant, Rafael Ortuno Carreno, be, and he is

hereby, COMMITTED to the custody of the Attorney General or his designated representative

for confinement in a corrections facility.

       It is further ORDERED that the Defendant, Rafael Ortuno Carreno, SHALL be afforded

a reasonable opportunity for private consultation with defense counsel.
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       It is further ORDERED that upon Order of a Court of the United States or upon request

of an attorney for the Government, the person in charge of the corrections facility SHALL deliver

the Defendant, Rafael Ortuno Carreno, to the United States Marshal for the purpose of an

appearance in connection with a Court proceeding.

       DONE at Galveston, Texas, this          17th           day of November, 2016.




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